












Petition for Writ of
Mandamus Dismissed and Memorandum Opinion filed May 27, 2010.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

In The

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Fourteenth Court of
Appeals

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NO. 14-10-00465-CV

NO. 14-10-00466-CV

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IN RE BRIAN K. MCPHERSON, Relator

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ORIGINAL PROCEEDING

WRIT OF MANDAMUS

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MEMORANDUM
OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On May 21, 2010, Relator, Brian K. McPherson, filed two
petitions for writ of mandamus in this Court.&nbsp; See Tex. Gov’t Code Ann
§22.221 (Vernon 2004); see also Tex. R. App. P. 52.1. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This Court’s mandamus jurisdiction is governed by Section
22.221 of the Texas Government Code.&nbsp; Section 22.221 expressly limits the
mandamus jurisdiction of the courts of appeals to:&nbsp; (1) writs against a
district court judge or county court judge in the court of appeals’ district,
and (2) all writs necessary to enforce the court of appeals’ jurisdiction.&nbsp;
Tex. Gov’t Code Ann. § 22.221.&nbsp; Because the petitions for writ of mandamus are
directed toward a district court outside of this court’s district and it is not
necessary to enforce this court’s jurisdiction, we have no jurisdiction.&nbsp; See
Tex. Gov’t Code Ann. § 22.221(b)(1).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, the petitions for writ of mandamus are ordered
dismissed.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

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Panel
consists of Justices Brown, Sullivan, and Christopher.





